 

AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT
for the

District of Minnesota

 

United States of America

v. )
) Case No, CR 20-251 DWF/ECW

)

)

Ty Raymond Jindra )

)

Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) Ty Raymond Jindra
who is accused of an offense or violation based on the following document filed with the court:

 

¥ Indictment Superseding Indictment Information Superseding Information Complaint
Probation Violation Petition Supervised Release Violation Petition Violation Notice Order of the Court
This offense is briefly described as follows: Pretrial Release Violation Petition

Count(s)1-6 - Acquiring a Controlled Substance by Deception, 21:843(a)(3); Count(s) 7- 8 - Extortion Under Color of Official Right,
18:1951(a); Count(s) 9-11 - Deprivation of Rights Under Color of Law, 18:242

Date: 11/04/2020

 

 

City and state: Minneapolis, MN

 

 

Printed name and title

 

Return

 

This warrant was received on (date) , and the person was arrested on (date)
at (city and state)

 

Date:

 

Arresting officer’s signature

 

Printed name and title

 

 
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This second page contains personal identifiers provided for law-enforcement use only
and therefore should not be filed in court with the executed warrant unless under seal.

(Not for Public Disclosure)

Name of defendant/offender:

 

Known aliases:

 

Last known residence:

 

Prior addresses to which defendant/offender may still have ties:

 

 

Last known employment:

 

Last known telephone numbers:

 

 

 

 

 

 

 

 

Place of birth:

Date of birth:

Social Security number:

Height: Weight:
Sex: Race:
Hair: Eyes:

 

 

Scars, tattoos, other distinguishing marks:

 

 

 

History of violence, weapons, drug use:

 

 

Known family, friends, and other associates (name, relation, address, phone number):

 

 

FBI number:

 

Complete description of auto:

 

 

Investigative agency and address:

 

 

Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):

 

 

Date of last contact with pretrial services or probation officer (if applicable):

 

 

 
